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                                           No. 25-1519
                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

        J.O.P.; M.A.L.C.; M.E.R.E.; K.A.R.C.; E.D.G.; L.M.Z., on behalf of themselves as
                      individuals and on behalf of others similarly situated,
                                                            Plaintiffs-Appellees,
                                               v.
          UNITED STATES DEPARTMENT OF HOMELAND SECURITY; UNITED
          STATES CITIZENSHIP AND IMMIGRATION SERVICES; KIKA SCOTT,
            Senior Official Performing the duties of the Director, U.S. Citizenship &
          Immigration Services; KRISTI NOEM, Secretary of Homeland Security; U. S.
           IMMIGRATION & CUSTOMS ENFORCEMENT; TODD LYONS, Acting
                     Director US Immigration and Customs Enforcement,
                                                            Defendants-Appellants.
             Appeal from the United States District Court for the District of Maryland
                 Case No. 8:19-cv-01944-SAG, Judge Stephanie A. Gallagher

         PLAINTIFFS’ MOTION FOR CLARIFICATION OR AMENDMENT OF
                    THIS COURT’S ADMINISTRATIVE STAY

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          May 9, 2025
                                                       Counsel for Plaintiffs-Appellees
          (additional counsel listed on signature
          block)
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              Plaintiffs respectfully request that the Court clarify or amend the scope of its

        May 8, 2025 administrative stay, providing that “[t]he district court’s order dated

        April 23, 2025, is administratively stayed until May 15, 2025.” D.I. 14. As

        explained below, the Government’s stay motion is aimed exclusively at paragraph 2

        of the district court’s April 23 order, and that is the only paragraph for which the

        Government moved in the district court for a stay pending appeal. The Court should

        therefore impose an administrative stay only as to paragraph 2 of the April 23 order.

              The district court’s April 23 order (ECF No. 254) contains three paragraphs:

        (1) ordering the Government “not to remove from the United States members of the

        certified ‘Class,’ defined in Section II.E of the Settlement Agreement”; 1 (2) ordering

        the Government “to facilitate Class Member Cristian’s return to the United States to

        await the adjudication of his asylum application on the merits by USCIS under the

        terms of the Settlement Agreement”; and (3) ordering that “the parties will proceed

        using pseudonyms as to Class Members Cristian and Javier for the pendency of this

        matter.” ECF No. 254 at 1-2.

              On May 6, the district court denied a motion to vacate paragraph 2 filed by

        the Government, and also issued a stay only as to paragraph 2 of the court’s April




        1
          The district court granted this relief after previously granting a class-wide
        temporary restraining order to prevent potentially imminent removals of class
        members. ECF 247.
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        23 order, “to permit Defendants to file an appeal” within 48 hours. ECF 270; see

        also May 6, 2025 Tr. at 32-33 (court explaining that the stay only applies to

        paragraph 2 and not to any other part of the order).

              Yesterday, May 8, the Government noticed an appeal of that April 23 order,

        as well as the subsequent order entered on May 6, 2025. See ECF Nos. 271 (notice

        of appeal); 270 (May 6 order). On the same day, the Government filed a motion for

        stay pending appeal in this Court (“Gov’t Mot.”). In its stay motion, the Government

        addressed only paragraph 2 of the district court’s April 23 order, which required the

        facilitation of Cristian’s return. See, e.g., Gov’t Mot. 1 (“[T]he district court ordered

        the Government to ‘facilitate’ Cristian’s return to the United States from the custody

        of El Salvador. ECF 254. The Government now respectfully seeks a stay of that

        order pending appeal.”). 2

              The Government’s stay motion therefore focuses entirely on paragraph 2 of

        the April 23 order, concerning facilitating Cristian’s return to the United States. The

        Government’s stay motion makes no argument about paragraphs 1 or 3 of the April



        2
          See also id. at 3 (arguing that “[f]orcing the facilitated return of [Cristian], purely
        as a matter of contractual procedure, would impose serious foreign-policy harms on
        the Government and threaten the public interest, while doing nothing for Cristian.
        This Court should therefore grant a stay pending appeal.”); id. at 11 (“Those factors
        all support a stay here, because the Government is likely to succeed on appeal, while
        forcing the Government to facilitate Cristian’s return during the pendency of this
        appeal would harm both the Government and the public interest while accomplishing
        nothing for Cristian.”).
                                                   2
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        23 order, and it does not ask this Court to stay those paragraphs. Nor would such a

        request properly be before this Court, because in the district court the Government

        moved for a stay only of paragraph 2 of the April 23 order. See ECF No. 262 at 2

        (“In the alternative, this Court should stay Section Two of its order pending

        appeal.”); id. at 12 (“For the foregoing reasons, the Court should vacate Section Two

        of the April 23, 2025, Order, ECF No. 253, or, in the alternative, stay Section Two

        pending appeal.”); see also ECF No. 261 (motion styled as “DEFENDANTS’

        MOTION TO VACATE SECTION TWO … OR, IN THE ALTERNATIVE,

        TO STAY SECTION TWO PENDING APPEAL”).

              Under Federal Rule of Appellate Procedure 8(a)(1), a stay applicant “must

        ordinarily move first in the district court for … a stay of the judgment or order of a

        district court pending appeal.” To move for such a stay in the first instance, the

        Government would have to “show that moving first in the district court would be

        impracticable.” Fed. R. App. P. 8(a)(2)(A)(i); see Wudi Industrial (Shanghai) Co.,

        Ltd. v. Wong, 70 F.4th 183, 193 n.4 (4th Cir. 2023) (“We take this opportunity to

        remind lawyers and litigants of Rule 8’s requirement that — absent a showing of

        ‘impracticability’ or inaction by the district court — a party must first seek a stay

        pending appeal from the district court, not the court of appeals.”).             The

        Government’s stay motion never addresses that point or attempts to show why it was

        practicable to seek a stay in the district court of paragraph 2 but not paragraphs 1

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        and 3.

                 In sum, the Government’s stay motion in this Court is aimed exclusively at

        paragraph 2 of the district court’s April 23 order, and that was the only paragraph

        the government asked the district court to stay.

                 Yesterday, upon receipt of the Government’s stay motion, this Court issued

        an order providing that “[t]he district court’s order dated April 23, 2025, is

        administratively stayed until May 15, 2025” and establishing a briefing schedule for

        the stay motion.

                 Counsel for Plaintiffs-Appellees has conferred with counsel for the

        Government, who has advised that Defendants read this Court’s order as staying the

        district court’s April 23, 2025 order in its entirety.

                 In light of the Government’s position, Plaintiffs-Appellees respectfully

        request that the Court clarify or amend its order to provide that only paragraph 2 of

        the district court’s April 23 order is administratively stayed. That is the only

        paragraph addressed in the Government’s stay motion in this Court and it is the only

        paragraph that the Government asked the district court to stay pending appeal. An

        administrative stay of the other paragraphs of the April 23 order is therefore

        unwarranted.




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                                                      Respectfully submitted,

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          May 9, 2025




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                             CERTIFICATE OF COMPLIANCE


              This motion complies with the type volume limitations of Federal Rule of

        Appellate Procedure 27(d)(2)(A) because it contains 997 words, excluding the parts

        exempted by Rule 32(f).

              This motion complies with the typeface requirements of Federal Rule of

        Appellate Procedure 32(a)(5) and the type-scale requirements of Federal Rule of

        Appellate Procedure 32(a)(6) because it has been prepared using Microsoft Word

        2016 in 14-point Times New Roman, a proportionally spaced typeface.


         May 9, 2025                                /s/ Brian T. Burgess
                                                    Brian T. Burgess




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                                    CERTIFICATE OF SERVICE


              I, Brian T. Burgess, hereby certify that on May 9, 2025 I electronically

        transmitted the foregoing document to the Clerk’s Office using the CM/ECF System.

        I certify that all participants in this case are registered CM/ECF users and that service

        will be accomplished by the CM/ECF system.


         May 9, 2025                                   /s/ Brian T. Burgess
                                                       Brian T. Burgess




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